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UNITED STATES DISTRICT COURT

for the
Northern District of Texas

ADONAI COMMUNICATIONS, LTD.

Plaintiff
v

. Civil Action No. 3:10-CV-2642-L
AWSTIN INVESTMENT, LLC, ET AL.

Nee Nene Nee” Ne ee”

Defendant

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) __—_— 04/30/2012

| also certify that, as appears from this court's records, no motion listed in Fed, R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date. 4/11/2018

CLERK OF COURT

s/E. Monk

Signature of C ko Deprl

is
